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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 CHAMBER OF COMMERCE OF
 THE UNITED STATES OF
 AMERICA; FORT WORTH
 CHAMBER OF COMMERCE;
 LONGVIEW CHAMBER OF
 COMMERCE; AMERICAN
 BANKERS ASSOCIATION;
 CONSUMER BANKERS
 ASSOCIATION; and TEXAS
 ASSOCIATION OF BUSINESS,

      Plaintiffs,

 v.                                                  Case No.: 4:24-cv-213-P

 CONSUMER FINANCIAL PROTECTION
 BUREAU; and ROHIT CHOPRA, in his
 official capacity as Director of the Consumer
 Financial Protection Bureau,

      Defendants.



                                             NOTICE

         On Friday, May 17, the court of appeals granted Defendants’ motion to dismiss as moot

Plaintiffs’ appeal from the effective denial of Plaintiffs’ motion for a preliminary injunction.

Unpublished Order, 24-10248, ECF No. 122. Under the Fifth Circuit’s default procedures, the

mandate will issue on July 9, 2024. However, Defendants moved this morning for immediate

issuance of the mandate to eliminate any questions about the scope of this Court’s jurisdiction to

proceed with this case. Defendants will apprise the Court of any further relevant developments in

the Fifth Circuit.




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DATED: May 20, 2024                      Respectfully Submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify on May 20, 2024, a true and correct copy of this document was served

electronically by the Court’s CM/ECF system to all counsel of record.


                                                   /s/ Joseph A. Frisone
                                                   Joseph Frisone
